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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 OTIS MILLER,

       Plaintiff,

 v.                                                        CASE NO.: 6:20-cv-1221

 THE FLORIDA DEPARTMENT OF
 CORRECTIONS, MILTON GASS,
 JOSHUA PETERSILGE,
 IAN GRETKA, HUNTER LINGO
 JOSEPH JAMES, SCOTT WILSON,
 and CHEYENNE JORDAN, in their
 individual capacities

      Defendants.
 ________________________________/

                                    COMPLAINT

       Plaintiff, Otis Miller (“Miller”), by and through the undersigned counsel,

 hereby sues the Florida Department of Corrections (“FDC”), Milton Gass (“Gass”),

 Joshua Petersilge (“Petersilge”), Ian Gretka (“Gretka”), Hunter Lingo (“Lingo”),

 Joseph James (“James”), Scott Wilson (“Wilson”), and Cheyenne Jordan (“Jordan”)

 in their individual capacities, and allege as follows:

                                  INTRODUCTION

       1.     This is an civil rights action for monetary damages as a result of the

 Defendants’ violations of the Civil Rights Act of 1871, 42 U.S.C. § 1983, the Eighth

 Amendment to the United States Constitution, the Americans with Disabilities Act
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 of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”), and the Rehabilitation Act of 1973,

 29 U.S.C. § 701, et seq. (the “RA”).

       2.     Plaintiff, an African American man and FDC inmate who has a history

 of mental and intellectual disabilities.

       3.     On July 8, 2019, Plaintiff was savagely beaten because he suffers from

 intellectual disabilities and because he is Black. Indeed, during the savage beating

 Plaintiff suffered at the hands the Defendants, the Defendants made comments

 including “beat his Black ass for making us work”, “why did you run? You knew

 we would beat your Black ass”, and “I didn’t like that ni**er anyways.” During this

 beating Plaintiff was in handcuffs and leg restraints. During the beating, hoping that

 the Defendants would stop, Plaintiff begged to go to medical and mental health,

 declaring medical and psychological emergencies. These racial “hits” by White

 correctional staff against Black inmates are not uncommon or rare within the Florida

 Department of Corrections.

       4.     Inmates at FDC regularly suffer malicious and sadistic beatings while

 incarcerated within the Florida prison system. It is a sad reality that inmates, and

 specifically Black male inmates, suffer these malicious and sadistic beatings by

 White correctional captains, sergeants, and officers.

       5.     This beating of Plaintiff almost never saw the light of day, that is, the

 truth almost was never exposed. Prior to July 8, 2019, a correctional officer sold or



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 bartered a cell phone to an inmate who was able to video the malicious and sadistic

 beating of Plaintiff by the Defendants.

       6.       The Defendants herein, including specifically Defendant Milton Gass,

 have a history of covering up malicious and sadistic inmate beatings and ordering

 subordinates to commit perjury. Defendant Gass should have been fired from FDC

 prior to July 8, 2019.

                            JURISDICTION AND VENUE

       7.       This Court has jurisdiction over the claims asserted herein pursuant to

 28 U.S.C. § 1331 in that this is a civil action arising under the Constitution of the

 United States.

       8.       Venue is proper in the Orlando Division in the Middle District of

 Florida because Plaintiff currently resides in Orlando, Florida, at Lake Correctional

 Institution, which is 27.9 miles from the federal courthouse in Orlando, Florida for

 the United States District Court of the Middle District of Florida.

       9.       The claims alleged herein are brought within the applicable statute of

 limitations.

       10.      Plaintiff pursued administrative remedies through compliance with and

 pursuit of the grievance procedures available to him, and thus satisfied the

 exhaustion requirement under the Prison Litigation Reform Act’s (“PLRA”).




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                                   THE PARTIES

       11.    Plaintiff Miller brings this action for violation of the Eighth

 Amendment, the ADA, and the RA. At the time of the unlawful beating alleged

 herein, Plaintiff was housed at Lake Correctional Institution (“Lake CI”). Plaintiff is

 currently housed at the Central Florida Reception Center (“CFRC”), a prison owned

 and operated by FDC in Orange County, Florida.

       12.    Defendant FDC is an agency of the State of Florida that owns and

 operates correctional facilities in the state, and which receives federal funds to

 operate its agency. At all times relevant hereto, Defendant FDC owned and operated

 Lake CI, the facility where Plaintiff was viciously sadistically and maliciously

 beaten by the Individual Defendants.

                                Individual Defendants

       13.    Defendant Milton Gass (hereinafter “Gass”) was a captain at Lake CI

 on the date of the incident. Since July 8, 2020, and more specifically after the

 publication of the video depicting the beating Plaintiff suffered, Defendant Gass was

 fired from FDC.

       14.    Defendant Joshua Petersilge (hereinafter “Petersilge”) was an officer at

 Lake CI on the date of the incident. Since July 8, 2020, and more specifically after

 the publication of the video depicting the beating Plaintiff suffered, Defendant

 Petersilge was fired from FDC.



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       15.    Defendant Ian Gretka (hereinafter “Gretka”) was an officer at Lake CI

 on the date of the incident. Since July 8, 2020, and more specifically after the

 publication of the video depicting the beating Plaintiff suffered, Defendant Gretka

 was fired from FDC.

       16.    Defendant Hunter Lingo (hereinafter “Lingo”) was an officer at Lake

 CI on the date of the incident. Since July 8, 2020, and more specifically after the

 publication of the video depicting the beating Plaintiff suffered, Defendant Lingo

 was fired from FDC.

       17.    Defendant Joseph James (hereinafter “James”) was an officer at Lake

 CI on the date he participated in the sadistic and malicious beating of Plaintiff.

       18.    Defendant Scott Wilson (hereinafter “Wilson”) was a sergeant at Lake

 CI on the date he participated in the sadistic and malicious beating of Plaintiff.

       19.    Defendant Cheyenne Jordan (hereinafter “Jordan”) was an officer at

 Lake CI on the date she participated in the sadistic and malicious beating of Plaintiff.

                                        FACTS

       20.    Plaintiff is an inmate incarcerated in Defendant Florida Department of

 Corrections’ prison system. The injuries sustained by the Plaintiff occurred at Lake

 CI, in Clermont, Florida. Plaintiff currently resides in Orlando, Florida, where he

 continues to suffer damages under his claims.




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      21.    Plaintiff has a history of a mental and intellectual disabilities, including

 slow or delayed mental processing.

      22.    Defendant FDC had actual knowledge of Plaintiff’s mental and

 intellectual disabilities through its supervisor employees, including Captain Gass.

                                   July 8th Beating

      23.    On July 8, 2019, Plaintiff was at Lake CI and was in leg restraints and

 handcuffs. Plaintiff was afraid he was going to be beaten by the individual

 Defendants because Plaintiff knew the individual Defendants to regularly beat

 inmates without provocation or justification. In other words, the individual

 Defendants, including specifically Milton Gass, were known by Plaintiff to

 regularly engage in the sadistic and malicious beatings of inmates.

      24.    All force used by the individual Defendants violated existing FDC

 policy, was sadistic and malicious, and violated the Eighth Amendment, as well as

 the ADA and RA.

      25.    While handcuffed and while also restrained with leg restraints, Plaintiff

 obeyed the directives given to him by Defendant James.

      26.    Nonetheless, Defendant James began to strike Plaintiff.

      27.    Defendant Lingo was second to arrive to this beating and put Plaintiff

 in a chokehold. Such chokehold was unnecessary because Plaintiff was restrained

 and not engaging in any act that justified the force used by Defendant Lingo.



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      28.    Defendants Petersilge and Gass arrived at the beating at approximately

 the same time. Defendants Petersilge and Gass immediately began to partake in the

 beating of Plaintiff, with Petersilge opting to stomp on Plaintiff’s face and mouth,

 including kicking Plaintiff in the face, violence common to an attack by White men

 on helpless, disabled and/or Black men. Defendant Gass choked Plaintiff repeatedly

 and struck Plaintiff with his fists repeatedly. Such acts were sadistic and malicious.

      29.    During this beating, Plaintiff declared an inmate medical emergency

 and inmate psychological emergency, begging for an accommodation, that is,

 begging them to stop and to not subject him to this unlawful, sadistic, and malicious

 beating and to receive medical and mental health services.

      30.    These     individual     Defendants     ignored   his    requests   for   an

 accommodation, with Defendant Petersilge stating that he was going to “beat

 [Plaintiff’s] Black ass for having us work.”

      31.    Defendant Gretka was one of the last officers to arrive to the beating,

 quickly joining in and striking the Plaintiff with his fists approximately thirteen (13)

 times. Such acts were sadistic and malicious.

      32.    Defendants Wilson and Jordan arrived at the beating at approximately

 the same time as Defendant Petersilge and Gretka, supervising the beating of

 Plaintiff and failing to come to his aid.




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       33.    Defendant Wilson asked “Why did you run? You knew we would beat

 your Black ass.”

       34.    To be clear, Plaintiff tried to run to avoid being subject to a sadistic and

 malicious beating, however, in leg restraints and handcuffs he was unable to get far.

       35.    After Plaintiff was roughed up enough by the individual Defendants,

 suffering severe physical injuries, including broken ribs and other serious injuries—

 despite having requested accommodations and declared inmate medical and

 psychological emergencies, no less—Plaintiff was taken to the hospital where he

 spent several days recovering from the vicious beating. Plaintiff continues to suffer

 from permanent physical, mental, and emotional injuries and harms as a result of

 this sadistic and malicious beating.

       36.    Immediately after the beating, Defendant Petersilge bragged about it,

 stating “I didn’t like that ni**er anyways.”

       37.    Racial “hits” and beatings based on inmates’ disabilities within the

 Florida Department of Corrections are far from uncommon or rare.

                                 Plaintiff’s Disability

       38.    Plaintiff was known and regarded within Lake CI—a prison camp

 particularly designated and known for handling significant amounts of inmates with

 disabilities, including mental and intellectual disabilities—as having mental and

 intellectual disabilities.



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       39.    Since Plaintiff was a child, he was known and regarded to have, and did

 have, intellectual and learning disabilities. Indeed, Plaintiff was placed in classes

 for children with intellectual disabilities, including students like Plaintiff that had

 slower processing and cognitive responses, capacities, and capabilities.

       40.    Plaintiff did not conceal this fact at Lake CI. Quite the contrary, on

 numerous occasions Plaintiff told Lake CI correctional staff, and Lake CI

 correctional staff otherwise knew and believed, that Plaintiff was slow when the

 correctional staff would explain things to Plaintiff or ask him why he did not

 understand what they were stating to him or asking of him.

       41.    Defendant Gass and others—known to treat inmates with disabilities

 and Black inmates worse than non-disabled and White inmates within Lake CI—

 would regularly and routinely make derogatory comments to Plaintiff making clear

 that they knew he had intellectual and learning disabilities:

                 a. “What, are you telling us that you’re retarded?”

                 b. “Hey retard!”

                 c. “Hey look here comes the dumbass.”

                 d. “Maybe the retard needs his ass kicked.”

       42.    Thus, it is beyond reproach that Defendant FDC was aware of

 Plaintiff’s disabilities, and regarded Plaintiff as having intellectual, learning, and

 mental disabilities.



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        43.     Plaintiff’s intellectual, learning, and mental disabilities are an

  impairment that substantially limit Plaintiff’s major life activities, including his

  learning, reading, concentrating, thinking, processing and communicating.

        44.     Under FDC policy and procedure, prison officials should have

  immediately called medical and mental health personnel to intervene once Plaintiff

  declared an inmate medical and psychological emergency. The individual

  Defendants did not follow policy and procedure.

                                     COUNT I
                    42 U.S.C. § 1983 – EIGHTH AMENDMENT
              (Against Defendants Gass, Petersilge, Gretka, Lingo, James,
                   Wilson, and Jordan, the individual Defendants )

        45.     Plaintiff incorporates and re-alleges Paragraphs 1 through 44 as if fully

  set forth herein.

        46.     This Count is brought through 42 U.S.C. § 1983 and against the

  individual Defendants for violation of the Eighth Amendment’s prohibition of cruel

  and unusual punishment on prisoners.

        47.     At all times relevant hereto, the individual Defnedants acted under color

  of state law and intentionally deprived Plaintiff of his rights under the United States

  Constitution. The individual Defendants are sued in their individual capacities.

        48.     While working at Lake CI, a correctional facility owned and operated

  by Defendant FDC, the individual Defendants intentionally violated Plaintiff’s right

  as a prisoner to be free from cruel and unusual punishment and to be free from the

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  use of excessive force and to receive appropriate medical care while being detained

  as a prisoner.

        49.    Plaintiff had known mental and intellectual impairments, which were

  serious medical needs and conditions. The individual Defendants were subjectively

  aware of Plaintiff’s mental and intellectual impairments and conditions. Further,

  Plaintiff’s conditions and serious medical needs were so obvious that even a

  layperson would easily recognize the necessity for medical attention and treatment.

        50.    The force used by the individual Defendants, or caused to be used by

  the individual Defendants, was excessive in that it was used maliciously and

  sadistically for the very purpose of causing harm to Plaintiff.

        51.    As a direct and proximate result of the individual Defendants’ excessive

  force and failure to stop other individual Defendants from engaging in excessive

  force, Plaintiff has suffered, continues to suffer, and will continue to suffer, from

  substantial harm and damages, including permanent physical injuries, disfigurement,

  and emotional pain and suffering.

        WHEREFORE, the Plaintiff, Otis Miller, demands judgment against the

  Defendants Gass, Petersilge, Gretka, Lingo, James, Wilson, and Jordan for

  compensatory damages, punitive damages, attorney’s fees and costs, and such other

  relief as this court deems appropriate.




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                               COUNT II
      TITLE II OF THE AMERICANS WITH DISABILITIES ACT (ADA)
                        (Against Defendant FDC)

        52.    Plaintiff incorporates and re-alleges paragraphs 1 through 44 as if fully

  set forth herein.

        53.    This count is brought under Title II of the Americans with Disabilities

  Act (ADA), 42 U.S.C. 12101, et seq. and 42 U.S.C. §§ 12131–12134, and its

  implementing regulations.

        54.    The ADA prohibits public entities from discriminating against

  individuals with disabilities in their services, programs, and activities. 42 U.S.C. §§

  12131–12134; see also 28 C.F.R. §§ 35.130. In other words, the ADA imposes an

  affirmative duty on public entities to create policies and procedures to prevent

  discrimination on the basis of disability.

        55.    Defendant FDC is a “public entity” within the meaning of 42 U.S.C. §

  12131(1) and 28 C.F.R. § 35.104.

        56.    Plaintiff was disabled as the term is defined in 42 U.S.C. § 12102, 42

  U.S.C. § 12131, and 28 C.F.R. § 35.108, as he suffered mental and intellectual

  impairments that substantially limited one or more major life activities.

        57.    Plaintiff’s mental and intellectual impairments substantially limit one

  or more major life activities, including but not limited to learning, reading,




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  concentrating, thinking, processing, and communicating. 42 U.S.C. § 12102(2)(a);

  28 C.F.R. § 35.108(c)(1)(i).

        58.    Plaintiff has a record of having mental and intellectual impairments that

  substantially limit one or more major life activity, as he has a history of having such

  impairments. 42 U.S.C. § 12102(1)(B); 28 C.F.R. § 35.108(a)(1)(ii) & (e).

        59.    Plaintiff is regarded by Defendant FDC as having mental and

  intellectual impairments that substantially limit one or more major life activity, as

  Defendant FDC perceived and perceives him as having such impairments. 42 U.S.C.

  § 12102(1)(C) & (3); 28 C.F.R. § 35.108(a)(1)(iii) & (f). Defendant FDC has

  subjected Plaintiff to a prohibited action because of his actual and perceived mental

  and intellectual impairments.

        60.    Plaintiff was a qualified individual with a disability because he met the

  essential eligibility requirements for the receipt of services or the participation in

  programs or activities provided by Defendant FDC, including but not limited to

  medical services, psychological services, and to be free from excessive force. 42

  U.S.C. § 12131(2); 28 C.F.R. § 35.104.

        61.    Plaintiff was brutally attacked and abused by FDC agents and

  employees, including the individual Defendants, at Lake CI because of his

  disabilities and requests for accommodations. Plaintiff was brutally beaten and

  denied medical treatment, psychological treatment, and intervention due to his



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  disabilities and his requests for accommodations, which were known to Defendant

  FDC and its agents and employees, including the individual Defendants. Such abuse

  and denial of medical attention by Defendant FDC and its agents and employees,

  including the individual Defendants, was on the basis and in spite of Plaintiff’s

  disabilities. Such abuse and denial of medical attention constitutes discrimination

  against an individual on the basis of disability in violation of Title II of the ADA. In

  fact, the beating Plaintiff received was because of his disabilities, and because of his

  requests for accommodations. In other words, Plaintiff suffered retaliation and

  discrimination from Defendant FDC and its employees, including the individual

  Defendants, for requesting accommodations and declaring inmate medical and

  psychological emergencies.

        62.    Plaintiff’s exercise of his rights under the ADA was interfered with by

  the Defendant FDC through its agents and employees, including the individual

  Defendants, in violation of 42 U.S.C. § 12203. See also 28 C.F.R. § 35.134.

        63.    Defendant FDC excluded Plaintiff from participation in, and denied

  him the benefits of, FDC services, programs, and activities (such as medical

  services) by reason of his disability. 42 U.S.C. § 12132; 28 C.F.R. § 35.130(a).

        64.    Defendant FDC subjected Plaintiff to discrimination on the basis of his

  disability(ies). 42 U.S.C. § 12132; 28 C.F.R. § 35.130(a).




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        65.    Plaintiff’s declaration of an inmate medical and psychological

  emergency, was a request for a reasonable accommodation for his mental and

  intellectual impairments and to remain free from a sadistic and malicious beating,

  something all inmates are entitled to. Defendant FDC and its agents and employees,

  including the individual Defendants, discriminated and retaliated against Plaintiff

  because of his mental and intellectual disabilities and request for a reasonable

  accommodation. Defendant FDC and its agents and employees, including the

  individual Defendants, ignored Plaintiff’s reasonable requests for accommodations,

  and instead discriminated and retaliated against him because of his mental and

  intellectual disabilities and reasonable requests for accommodations.

        66.    Defendant FDC failed to provide Plaintiff with equal access to and

  enjoyment of effective services, programs, or activities that it provides as a public

  entity. 28 C.F.R. § 35.130(b)(1).

        67.    Defendant FDC knew about the violations described herein but failed

  to correct them, thereby exhibiting deliberate indifference to the rights of Plaintiff.

        68.    Defendant FDC showed deliberate indifference toward Plaintiff and his

  intellectual and mental disabilities, including but not limited to, when:

               a.     The individual Defendants sadistically and maliciously beat

        Plaintiff because he had mental and intellectual disabilities;




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               b.     The individual Defendants continued to sadistically and

        maliciously beat Plaintiff after he declared medical and psychological

        emergencies (i.e., requested reasonable accommodations).

        69.    Had Defendant FDC and its agents and employees, including individual

  Defendants, not been deliberately indifferent to Plaintiff’s intellectual and mental

  disabilities, Plaintiff would not have suffered life-threatening injuries.

        70.    As a direct and proximate cause of Defendant FDC’s actions and

  omissions, Plaintiff has suffered, continues to suffer, and will continue to suffer,

  from substantial harm and violation of his ADA rights.

        WHEREFORE, the Plaintiff, Otis Miller, demands judgment against

  Defendant FDC for compensatory damages, including for permanent physical

  injury, disfigurement, and emotional pain and suffering, for all prejudgment interest

  allowable under law, for attorney’s fees and costs incurred in connection with this

  litigation, and for such other relief as this court deems appropriate, just, and proper.

                                COUNT III
              SECTION 504 OF THE REHABILITATION ACT (RA)
                          (Against Defendant FDC)

        71.    Plaintiff incorporates and re-alleges paragraphs 1 through 44 as if fully

  set forth herein.




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        72.      This count is brought under Section 504 of the Rehabilitation Act (RA),

  29 U.S.C. § 701, et seq. and 29 U.S.C. § 791–794, et seq., and its implementing

  regulations.

        73.      Section 504 of the RA prohibits discrimination against persons with

  disabilities by any program or activity receiving Federal financial assistance. 29

  U.S.C. § 794(a).

        74.      Defendant FDC is a program or activity receiving federal financial

  assistance within the meaning of 29 U.S.C. § 794.

        75.      Defendant FDC excluded Plaintiff—a qualified individual with a

  disability—from participation in, and denied him the benefits of, programs or

  activities by reason of his intellectual and mental disabilities. 29 U.S.C. § 794(a); 29

  U.S.C. § 705(20); 28 C.F.R. § 42.503(a).

        76.      Defendant FDC subjected Plaintiff—a qualified individual with a

  disability—to discrimination. 29 U.S.C. § 794(a).

        77.      Defendant FDC denied Plaintiff—a qualified handicapped/disabled

  person—the opportunity accorded to others to participate in programs and activities.

  28 C.F.R. § 42.503(b)(1).

        78.      Defendant FDC utilized criteria or methods of administration that either

  purposely or in-effect discriminate on the basis of handicap/disability, and defeat or




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  substantially impair accomplishment of the objectives of FDC’s programs or

  activities with respect to handicapped/disabled persons. 28 C.F.R. § 42.503(b)(3).

        79.    Defendant FDC knew about the violations described herein but failed

  to correct them, thereby exhibiting deliberate indifference to the rights of Plaintiff.

        80.    As a direct and proximate cause of Defendant FDC’s exclusion and

  discrimination, Plaintiff has suffered, continues to suffer, and will continue to suffer,

  from substantial harm and violation of his rights under the RA.

        WHEREFORE, the Plaintiff, Otis Miller, demands judgment against

  Defendant FDC for compensatory damages, including for permanent physical

  injury, disfigurement, and emotional pain and suffering, for all prejudgment interest

  allowable under law, for attorney’s fees and costs incurred in connection with this

  litigation, and for such other relief as this court deems appropriate, just, and proper.

                            DEMAND FOR JURY TRIAL

        Plaintiff demands a jury trial for all counts alleged above.

        DATED this 9th day of July, 2020.




                             [Signatures on following page]




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                                   Respectfully submitted,

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